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                   FILED
                      UNDER

                     SEAL
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DANIEL G. BOGDEN
United States Attorney
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                            UNITED STATES DISTRICT COURT
                                    District of Nevada



UNITED STATES OF AMERICA, )                              Case No.   2:16-cr-00296-JAD-PAL-4
Plaintiff,                )
                          )
        v.                )                                    PETITION FOR ACTION
                          )                                    ON CONDITIONS OF
Cassandra EDWARDS         )                                    PRETRIAL RELEASE
Defendant                 )


           Attached hereto and expressly incorporated herein is a Petition for Action on

Conditions of Pretrial Release concerning the above-named defendant prepared by Jeff Cottam,

Pretrial Services Officer. I have reviewed that Petition and believe there is sufficient credible

evidence which can be presented to the Court to prove the conduct alleged, and I concur in the

recommended action requested of the Court.

         Dated this 15th day of November, 2016.


                                                           DANIEL G. BOGDEN
                                                           United States Attorney


                                                           By ____/S/
                                                              SUSAN CUSHMAN
                                                              Assistant U. S. Attorney
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PS 8
(Revised 12/04)
                                   UNITED STATES DISTRICT COURT
                                               for the
                                        DISTRICT OF NEVADA

U.S.A. vs. Cassandra EDWARDS                                     Docket No.     2:16-cr-00296-JAD-PAL-4

                             Petition for Action on Conditions of Pretrial Release

 COMES NOW Jeff Cottam, UNITED STATES PRETRIAL SERVICES OFFICER, presenting an
official report upon the conduct of defendant, Cassandra EDWARDS, who was placed under pretrial
release supervision by U.S. Magistrate Judge Nancy J. Koppe, in the Court at Las Vegas, Nevada on
October 28, 2016, on a Personal Recognizance Bond, with the following conditions:

            1.    Pretrial Services supervision.
            2.    Shall use her true name only and shall not use any false identifiers.
            3.    Shall report any lost or stolen passport or passport card to the issuing agency as directed
                  by Pretrial Services within 48 hours of release.
            4.    Shall not obtain a passport or passport card.
            5.    Travel restricted to Clark County, Nevada and Nye County, NV.
            6.    Shall maintain current residence with mother, and may not move prior to obtaining
                  permission from the Court or Pretrial Services.
            7.    Shall avoid all contact directly or indirectly with co-defendant(s) unless it is in the presence
                  of counsel.
            8.    Shall submit to drug testing as directed by Pretrial Services.
            9.    Shall pay all or part of the cost of the testing program based upon her ability to pay as
                  determined by Pretrial Services.
            10.   Shall refrain from use or unlawful possession of a narcotic drug or other controlled
                  substances unless prescribed by a licensed medical practitioner.
            11.   Shall not be in the presence of anyone using or possessing a narcotic drug or other
                  controlled substances.
            12.   Shall participate in a program of inpatient or outpatient substance abuse therapy and
                  counseling if Pretrial considers advisable.
            13.   Shall pay all or part of the cost of the substance abuse treatment program or evaluations
                  based upon her ability to pay as determined by Pretrial Serves.
            14.   Shall undergo medical or psychiatric treatment.
            15.   Shall submit to mental health evaluation as directed by Pretrial Services.
            16.   Shall pay all or part of the cost of the medical or psychiatric treatment program or
                  evaluation based upon her ability to pay.
            17.   The defendant shall be monitored by the form of location monitoring indicated below and
                  shall abide by all technology requirements. The participant shall pay all or part of the costs
                  of participation in the location monitoring program as directed by the court and/or the
                  pretrial services officer:
                              • Location monitoring technology at the discretion of the officer
                  This form of location monitoring technology shall be utilized to monitor the following
                  restriction on the defendant's movement in the community as well as other court imposed
                  conditions of release:
                              • You are restricted to your residence at all times except for employment;
                                  education; religious services; medical, substance abuse, or mental health
                                  treatment; attorney visits; court appearances; court-ordered obligations; or
                                  other activities as pre-approved by the officer (Home Detention).
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       18.      Shall not tamper with, damage, or remove the monitoring device and shall charge the said
                equipment according to the instructions provided by Pretrial Services or the supervising
                office.
       19.      Shall pay all or part of the cost of the location monitoring program based upon her ability
                to pay as determined by Pretrial Services or the supervising officer.


             Respectfully presenting Petition for Action of Court and for cause as follows:

       1.       On November 15, 2016, a Strap Tamper Alert was received by our office. Our office made
                numerous attempts to establish contact with the defendant but have been unsuccessful. Our
                office spoke with staff at the inpatient treatment facility where the defendant was residing
                and were advised they discovered the bracelet which appeared to be cut and the defendant’s
                whereabouts are unknown.



PRAYING THAT THE COURT WILL ORDER THAT A WARRANT BE ISSUED BASED UPON
THE ALLEGATIONS OUTLINED ABOVE. FURTHER, THAT A HEARING BE SET TO
SHOW CAUSE WHY PRETRIAL RELEASE SHOULD NOT BE REVOKED.


ORDER OF COURT                                              I declare under penalty of perjury that the
                                                            information herein is true and correct.
Considered and ordered this 15th       day of               Executed on this 15th day of November, 2016.
November, 2016, and ordered filed and made a
part of the records in the above case.                      Respectfully Submitted,

__________________________________                          _________________________________
Honorable Peggy A. Leen                                     Jeff Cottam
United States Magistrate Judge                              United States Pretrial Services Officer
                                                            Place: Las Vegas, Nevada
